        Case 3:20-cv-01170-HNJ Document 21 Filed 11/25/20 Page 1 of 1                   FILED
                                                                               2020 Nov-25 PM 03:38
                                                                               U.S. DISTRICT COURT
                                                                                   N.D. OF ALABAMA


                    UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF ALABAMA
                      NORTHWESTERN DIVISION

SPENCER WINSTON,                       )
                                       )
            Plaintiff                  )
                                       )
      vs.                              )    Case No. 3:20-cv-01170-HNJ
                                       )
I.C. SYSTEM, INC.,                     )
                                       )
            Defendant.                 )

                                   ORDER

      Pursuant to Plaintiff’s Notice of Voluntary Dismissal (doc. 20), it is hereby

ORDERED, ADJUDGED, and DECREED that this case is DISMISSED WITH

PREJUDICE, without costs to either party.

      DONE and ORDERED this 25th day of November, 2020.


                                            ____________________________________
                                            HERMAN N. JOHNSON, JR.
                                            UNITED STATES MAGISTRATE JUDGE
